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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )         CR 217-061
                                            )
TRACY WAYNE CROSBY                          )

                                PLEA AGREEMENT

       Defendant Tracy Wayne Crosby, represented by his counsel John B. Manly,

and the United States of America, represented by Assistant United States Attorney

Tania D. Groover, have reached a plea agreement in this case. The terms and

conditions of that agreement are as follows.

1.     Guilty Plea

       Defendant agrees to enter a plea of guilty to Count One of the Indictment,

which charges .a violation of 18 U.S.C. § 1591(a) and (b)(2).

2.     Elements and Factual Basis

       The elements necessary to prove the offense charged in Count One are (1) the

defendant knowingly recruited, enticed, harbored, transported, provided, obtained,

maintained, patronized, and solicited, by any means John Doe #1; (2) that the

defendant did so knowing or in reckless disregard of the fact that John Doe #1 had

not attained the age of 18 years and would be caused to engage in a commercial sex

act; and (3) that the defendant's acts were in or affected interstate commerce.

       Defendant agrees that he is, in fact, guilty of Count One. He agrees to the

accuracy of the following facts, which satisfy each of the offense's required elements:
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Beginning at a time unknown, but at least between August 2017 and November 29,

2017, in Camden County and Ware County within the Southern District of Georgia,

and elsewhere, the defendant Tracy Wayne Crosby, knowingly recruited, enticed,

harbored, transported, provided, obtained, maintained, patronized, and solicited, by

any means, in and affecting interstate commerce, "John Doe #1," knowing and in

reckless disregard of the fact that "John Doe #1" had not attained the age of 18 years

and that "John Doe #1" would be caused to engage in a commercial sex act, and all in

violation of Title 18, United States Code, Sections 1591(a)(l) and 1591(b)(2).

3.     Possible Sentence

       Defendant's guilty plea will subject him to the following mandatory minimum

and maximum possible penalties for Count One: imprisonment for not less than 10

years and up to life, a fine of not more than $250,000, a term of supervised release of

not less than five years to life, a $100 special assessment, a second special assessment

in the amount of $5,000, and restitution in an amount to be determined by the Court.

Defendant's guilty plea will subject him to a mandatory minimum penalty of ten

years in prison for Count One.

4.     No Promised Sentence

       No one has promised Defendant that the Court will impose any particular

sentence or a sentence within any particular range. The Court is not bound by any

estimate of sentence given or recommendations made by Defendant's counsel, the

government, the U.S. Probation Office, or anyone else. The Court may impose a




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sentence up to the statutory maximum. Defendant will not be allowed to withdraw

his plea of guilty if he receives a more severe sentence than he expects.

5.       Court's Use of Guidelines

         The Court is obligated to use the United States Sentencing Guidelines to

calculate the applicable guideline range for Defendant's offense and to consider that

range, possible departures under the Sentencing Guidelines, and other sentencing

factors under 18 U.S.C. § 3553(a), in determining his sentence. The Sentencing

Guidelines are advisory; the Court is not required to impose a sentence within the

range those Guidelines suggest. The Sentencing Guidelines are based on all of

Defendant's relevant conduct, pursuant to U.S.S.G. § lBl.3, not just the facts

underlying the particular Count to which Defendant is pleading guilty.

6.       Agreements Regarding Sentencing Guidelines

         a.    Use of Information

         The government is free to provide full and accurate information to the Court

and U.S. Probation Office for use in calculating the applicable Sentencing Guidelines

range.

         b.    Acceptance of Responsibility

         The government will not object to a recommendation by the U.S. Probation

Office that Defendant receive a two-level reduction in offense level for acceptance of

responsibility pursuant to Section 3El.l(a) of the Sentencing Guidelines. If the U.S.

Probation Office makes that recommendation, and Defendant's offense level is 16 or

greater prior to any reduction for acceptance of responsibility, the government will


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move for an additional one-level reduction in offense level pursuant to Section

3El.l(b) of the Sentencing Guidelines based on Defendant's timely notification of his

intention to enter a guilty plea.

7.     Dismissal of Other Counts

       At sentencing, the government will move to dismiss any other Counts of the

Indictment that remain pending against Defendant.

8.     Restitution

       Defendant agrees to pay restitution ordered by the Court for the full loss

caused by Defendant's total criminal conduct. Defendant agrees that restitution is

not limited to the specific counts to which Defendant is pleading guilty.           Any

restitution judgment is intended to and will survive Defendant, notwithstanding the

abatement of any underlying criminal conviction.

9.     Forfeiture

       a.    The Defendant agrees to forfeit his interest in any property used or

intended to be used to commit or facilitate the commission of the offenses to which he

has agreed to plead guilty, specifically, a Samsung Galaxy S5, Model SM-G900A,

Serial number R38G203VHSJ, IMEi 354691065083600, hereinafter referred to as the

"Subject Property."

       b.    Defendant agrees to take all steps requested by the United States to

facilitate transfer of title of the Subject Property to the United States, including but

not limited to the signing of a consent order or decree, a stipulation of facts regarding

the transfer and basis for the forfeiture, and any other documents necessary to


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effectuate such transfer. Defendant further agrees not to file any claim, answer, or

petition for remission or mitigation in any administrative or judicial proceeding

pertaining to the Subject Property. If any such a document has already been filed,

Defendant hereby withdraws that filing.

       c.    Defendant waives and abandons all right, title, and interest in the

Subject Property. In addition, Defendant waives and abandons his interest in any

other property that may have been seized in connection with this case.

      d.     Defendant agrees to hold the United States and its agents and

employees harmless from any claims made in connection with the seizure, forfeiture,

or disposal of property connected to this case. Defendant further agrees to waive the

requirements of the Federal Rules of Criminal Procedure 32.2 and 43(a) regarding

notice of the forfeiture in the charging instrument, announcement of the forfeiture at

sentencing, and incorporation of the forfeiture in the judgment.                 Defendant

acknowledges that he understands that the forfeiture of assets is part of the sentence

that may be imposed in this case and waives any failure by the Court to advise him

of this pursuant to Rule ll(b)(l)(J), at the time his guilty plea is accepted.

      e.     Defendant agrees to waive any and all constitutional, statutory, and

equitable challenges on any grounds to the seizure, forfeiture, and disposal of any

property seized in this case. Defendant specifically agrees to waive any claims,

defenses or challenges arising under the Double Jeopardy Clause of the Fifth

Amendment and the Excessive Fines Clause of the Eighth Amendment.




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10.     Waivers

        a.    Waiver of Appeal

        Defendant entirely waives his right to a direct appeal of his conviction and

sentence on any ground (including any argument that the statute to which the

defendant is pleading guilty is unconstitutional or that the admitted conduct does not

fall within the scope of the statute). The only exceptions are that the Defendant may

file a direct appeal of his sentence if (1) the court enters a sentence above the statutory

maximum, (2) the court enters a sentence above the advisory Sentencing Guidelines

range found to apply by the court at sentencing; or (3) the Government appeals the

sentence. Absent those exceptions, Defendant explicitly and irrevocably instructs his

attorney not to file an appeal.

        b.    Waiver of Collateral Attack

        Defendant entirely waives his right to collaterally attack his conviction and

sentence on any ground and by any method, including but not limited to a 28 U.S.C.

§ 2255 motion. The only exception is that Defendant may collaterally attack his

conviction and sentence based on a claim of ineffective assistance of counsel.

        c.    FOIA and Privacy Act Waiver

        Defendant waives all rights, whether asserted directly or through a

representative, to request or receive from any department or agency of the United

States any record pertaining to the investigation or prosecution of this case under the

authority of the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy Act of

1974, 5 U.S.C. § 552a, and all subsequent amendments thereto.


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        d.    Fed. R. Crim. P. ll(f) and Fed. R. Evid. 410 Waiver

        Rule ll(f) of the Federal Rules of Criminal Procedure and Rule 410 of the

Federal Rules of Evidence ordinarily limit the admissibility of statements made by a

defendant during the course of plea discussions or plea proceedings. Defendant

knowingly and voluntarily waives the protections of these rules. If Defendant fails

to plead guilty, or his plea of guilty is later withdrawn, all of Defendant's statements

in connection with this plea, and any leads derived therefrom, shall be admissible for

any and all purposes.

11.     Sex Offender Registration

        Defendant will be required to register as a sex offender upon his release from

prison as a condition of his supervised release pursuant to 18 U.S.C. § 3583(d).

Independent of supervised release, he will be subject to federal and state sex offender

registration requirements. Those requirements may apply throughout his life.

12.     Defendant's Rights

        Defendant has the right to be represented by counsel, and if necessary have

the court appoint counsel, at trial and at every other critical stage of the proceeding.

Defendant possesses a number of rights which he will waive by pleading guilty,

including: the right to plead not guilty, or having already so pleaded, to persist in

that plea; the right to a jury trial; and the right at trial to confront and cross-examine

adverse witnesses, to be protected from compelled self-incrimination, to testify and

present evidence, and to compel the attendance of witnesses.




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13.     Satisfaction with Counsel

        Defendant has had the benefit of legal counsel in negotiating this agreement.

Defendant believes that his attorney has represented him faithfully, skillfully, and

diligently, and he is completely satisfied with the legal advice given and the work

performed by his attorney.

14.     Breach of Plea Agreement

        If Defendant breaches the plea agreement, withdraws his guilty plea, or

attempts to withdraw his guilty plea, the government is released from any agreement

herein regarding the calculation of the advisory Sentencing Guidelines or the

appropriate sentence.      In addition, the government may (1) declare the plea

agreement null and void, (2) reinstate any counts that may have been dismissed

pursuant to the plea agreement, and/or (3) file new charges against Defendant that

might otherwise be barred by this plea agreement. Defendant waives any statute-of­

limitations or speedy trial defense to prosecutions reinstated or commenced under

this paragraph.

15.     Entire Agreement

        This agreement contains the entire agreement between the government and

Defendant.




                           Signatures on the Following Page


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Date                                    Brian T. Rafferty
                                        New York Bar No. 2809440
                                        Assistant United States Attorney
                                        Chief, Criminal Division



                                        Tania D. Groover
                                        Georgia Bar No. 127947
                                        Assistant United States Attorney


       I have read and carefully reviewed this agreement with my attorney.                I

understand each provision of this agreement, and I voluntarily agree to it. I hereby

stipulate that the factual basis set out therein is true and accurate in every respect.



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Date
                                        Defendant


       I have fully explained to Defendant all of his rights, and I have carefully

reviewed each and every part of this agreement with him. I believe that he fully and

completely understands it, and that his decision to enter into this agreement is an

informed, intelligent, and voluntai-y one.


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                                        Defendant's Attorney




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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          BRUNSWICK DIVISION

UNITED STATES OF AMERICA                  )
                                          )
v.                                        )         CR 217-061
                                          )
TRACY WAYNE CROSBY                        )

                                      ORDER

      The aforesaid Plea Agrnement, having been considered by the Court in

conjunction with the interrogation by the Court of the defendant and the defendant's

attorney at a hearing on the defendant's motion to change his plea and the Court

finding that the plea of guilty is made freely, voluntarily and knowingly, it is

thereupon,

      ORDERED that the plea of guilty by defendant be, and it is, hereby accepted

and the foregoing Plea Agxeement be, and it is, hereby ratified and confirmed.
